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UN|TED STATE&`. l`)|STRlCT COURT
ALBUOUFP@UEPHWVMEWCO

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,
Plaintiff,
VS.
ROBERT REAL,

LINDA REAL, and
CRYSTAL JOHNSON,

Defendants.

The Grand Jury charges:

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CRIMINAL NO. 17'25155 WU

Count 1: 18 U.S.C. § 371: Conspiracy;

Counts 2, 6: 18 U.S.C. §§ 922(b)(2):
Sale ofFirearm 10 a Felnn;

Count 3: 18 U.S.C. § 922(b)(1): Sale 01"
Firearrn Other Than Rifle or Shotgun to
a Person Under 21 Years onge;

Counls 4, 8: 18 U.S.C. § 922(m):
Falsii`lcation of Required Firearm
Transfer Records;

Count 5: 18 U.S.C. § 923@):
Unauthorized Transfer Of Firearm From
Motor Vehicle;

Count 7: 18 U.S.C. § 1001: Material
False Statements to Federal LaW
Enforeement Agents.

INDICTMENT

INTRODUCTION

l. At all times relevant to the indictment, the defendant, ROBERT REAL, held

Federal Firearms License (“FFL”) number 5-85-35024, awarded by the Bureau of Alcohol,

Tobacco, Firearms, and Explosives (“ATF”), making him a licensed firearms dealer Within the

meaning of federal law and allowing him to do business as ShOOter’S Outpost, 25A Gun Ba:rrel

Road, Espanola, New Mexico.

 

2. LINDA REAL is the wife and employee of ROBERT REAL.

3. CRYSTAL JOHNSON is the daughter of LINDA REAL, and employee of

ROBERT REAL.
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4. Paragraphs 1 through 3, above, are hereby incorporated by reference as if fully set
forth herein.

5. Between on or about March 12, 2016 and February 8, 2017, in Rio Arriba County
and elsewhere in the District of New Mexico, the Defendants, ROBERT REAL, LINDA
REAL, and CRYSTAL J()HNS()N, along With others known and unknown to the Grand Jury,
did knowingly combine, conspire, confederate, agree, and act interdependently with each other to
commit certain offenses against the United States, namely sale of firearms by licensed dealers to
prohibited possessors, in violation of Title 18, United States Code, Section 922(|;))(2), sale of
firearms other than rifles or shotguns by licensed dealers to those under 21 years of age, in
violation of Title 18, United States Code, Section 922(b)(1), falsification of required llirearm
transfer records, in violation ol`Title 18, United States Code 922(m), unauthorized transfer of
firearm from a motor vehicle, in violation of Title 18, United States Code, Section 9230), and
material false statements to law enforcement agents, in violation of Title 18, United States Code,
section 1001, as further set out below.

Manner and Means

6. It was a part of the conspiracy that the defendants Would attend gun shows around

New l\/lexico and, in order to make the maximum possible amount of money, sell firearms

without performing the required background check.

 

7. lt was a further part of the conspiracy that if the defendants did perform the
required background check and, if the NICS gave an instruction to Delay the sale, would perform
the sale immediately, and falsify the records of the sale to indicate the sale had occurred after the
three-day standard Delay period.

8. lt was a further part of the conspiracy that the defendants would, in the case of a
Delayed sale, drive the firearm to be sold and transfer it to the buyer from a motor vehicle, rather
than requiring the buyer to travel to Shooter’s Outpost’s licensed business location in Espanola,
New Mexico.

9. lt Was a further part of the conspiracy that the defendants would sell firearms
other than rifles or shotguns to buyers under the age of 21.

10. lt was a further part of the conspiracy that the defendants would conceal from
federal investigators the true circumstances under which firearms Were sold, either by falsifying
records, making verbal statements, or both.

l 1. In furtherance of the conspiracy, and to effect the objects thereof, in the District
of New Mexico, the defendants committed, among other overt acts, the following

OVERT ACTS

12. On or about March 12, 2016, at the High Desert Gun Show in Silver City, New
Mexico, the defendants, ROBERT REAL and LINDA REAL sold a Phoenix Arms Model
HP22A, .22 caliber semiautomatic pistol to M.H.D..

13. On or about June 4, 2016, in Albuquerque, New Mexico, the defendant,
ROBERT REAL, sold S.R.N. a firearm.

14. ()n or about November 20, 2016, in the District of New Mexico, the defendants,

R()BERT REAL and LINDA REAL, sold a Norinco model SKS/Paratrooper 7.62x39mm
caliber semiautomatic rifle to E.T.

15. ()n or about November 23, 2016, the defendant, CRYSTAL JOHNSON,
delivered a firearm to S.J.K. at the San Felipe Casino Hollywood in Algodones, New Mexico,
from a motorized vehicle

16. On or about .lanuary 28, 2017, at the Carlsbad Gun Show, the defendants,
ROBERT REAL and LINDA REAL, sold a firearm, a Cobra Model FS380, .380 caliber
semiautomatic pistol to R.M.S.

17. On or about February 11, 2017, at the Albuquerque Gun Show, the defendant,
ROBERT REAL accepted $500 from J.A.L. in return for a promise to sell J.A.L. a revolver in
the future.

18. On or about February 24, 2017, at Shooter’s Outpost in Espanola, New Mexico,
the defendant, ROBERT REAL, when interviewed by ATF agents, falsely stated that R.M.S.
had driven to Espanola, New Mexieo to the Shooter’s Outpost to pick up the firearm on February
2, 2017, when he then and there well knew and believed that he had sold R.M.S. the firearm on
.lanuary 28, 2017.

19. On or about between January 28, 2017 and February 24, 2017, those dates being
inclusive, the defendants, ROBERT REAL and LINDA REAL, altered the ATF Form 4473 for
the January 28, 2017 sale to R.M.S. to state that the sale took place on February 2, 2017.

ln violation of18 U.S.C. § 371.

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On or about March 12, 2016, at the High Desert Gun Show in Silver City, New Mexico,

 

 

the defendants, ROBERT REAL and LINDA REAL, licensed firearm dealers within the
meaning of federal law, knowingly and unlawfully sold a Phoenix Arms Model HP22A, .22
caliber semiautomatic pistol to M.H,D., a person unauthorized to possess that firearm in the state
in which it was sold to him, because he was a felon.

In violation of 18 U.S.C. § 922(b)(2).

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On or about June 4, 2016, in Albuquerque, New l\/lexico, the defendant, R()BERT
REAL, a licensed firearms dealer within the meaning of federal law, knowingly and unlawfully
sold S.R.N., a person known to the grand jury to have been under 21 years of age at that time, a
firearm other than a rifle or shotgun, specifically a Spikes Spartan lower receiver.

In violation of 18 U.S.C. § 922(b)(1).

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On or about November 20, 2016, in the District of New Mexico, the defendants,
ROBERT REAL and LINDA REAL, sold a Norinco model SKS/Paratrooper ?.62x39mm
caliber semiautomatic rifle to E.T., despite receiving a Delay instruction from NICS on the
background check related to that sale, and then knowingly and unlawfully altered the ATF Form
4473 for that sale to claim the firearm was transferred on November 25, 2016.

In violation of 18 U.S.C. § 922(rn).

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On or about November 23, 2016, at the San Felipe Casino Hollywood in Algodones, New

Mexico the defendant, CRYSTAL JOHNSON, knowingly and unlawfully delivered a firearm

to S.J.K. from a motorized vehicle, after a sale to S.J.K. was given a Delay instruction by NICS.

 

 

 

ln violation of 18 U.S.C. § 923(j).
COH_rltG
On or about January 28, 2017, at the Carlsbad Gun Show, in the District ofNew Mexico,
the defendants, ROBERT REAL and LINDA REAL, licensed firearms dealers within the
meaning of federal law, knowingly and unlawfully sold a firearm, a Cobra Model FSSSO, .380
caliber semiautomatic pistol to R.M.S., a person unauthorized to possess the firearm in the state
in which it was transferred, because R.M.S. was a felon.
ln violation of 18 U.S.C. § 922(b)(2).
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On or about February 24, 2017, in Santa Fe, New Mexico, the defendant, ROBERT
REAL, knowingly and unlawfully made false statements to federal agents investigating a matter
within their criminal jurisdiction, regarding a material matter, specifically by telling agents from
the ATF that R.M.S. had driven to Espanola, New Mexico to the Shooter’s Outpost to pick up a
firearm on February 2, 2017, when the defendant then and there Well and truly believed he had
sold the firearm to R.M.S. on January 28, 2017 in Carlsbad, New Mexico .
ln violation of18 U.S.C. § 1001.
M
On or about between January 28, 2017 and February 24, 2017, those dates being inclusive,
in the District of New Mexico, the defendants, ROBERT REAL and LINDA REAL, knowingly
and unlawfully altered the ATF Form 4473 for the January 28, 2017 sale to R.M.S. to state that
the sale took place on February 2, 2017.

In violation of 18 U.S.C. § 922(m).

 

 

 

A '[`RUE BlLL:

/S/
FOREPERSON OF THE GRAND JURY

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Assistant United States Attorney

Tuesday; Octobcr 24_ 2017

 

